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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                550 Seabreeze Development LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Las Olas Ocean Resort
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  19501 Biscayne Blvd.
                                  550 Seabreeze Blvd.                                             Suite 400
                                  Fort Lauderdale, FL 33316                                       Miami, FL 33180
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Broward                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    550 Seabreeze Development LLC                                                              Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                               Case number
                                                  District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                         No
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                  Relationship
                                                  District                                 When                           Case number, if known




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Debtor   550 Seabreeze Development LLC                                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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Debtor    550 Seabreeze Development LLC                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 26, 2018
                                                  MM / DD / YYYY


                             X   /s/ Kenneth Bernstein                                                    Kenneth Bernstein
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Representative




18. Signature of attorney    X   /s/ Paul J. Battista                                                      Date February 26, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul J. Battista 884162
                                 Printed name

                                 Genovese Joblove & Battista, P.A.
                                 Firm name

                                 100 S.E. 2nd Street
                                 44th Floor
                                 Miami, FL 33131
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-349-2300                  Email address


                                 884162
                                 Bar number and State




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                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      550 Seabreeze Development LLC                                                               Case No.
                                                                                  Debtor(s)             Chapter      11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Authorized Representative of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       February 26, 2018                                         /s/ Kenneth Bernstein
                                                                       Kenneth Bernstein/Authorized Representative
                                                                       Signer/Title




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            ABC Concrete Cutting, Inc.
            2251 Hammondville Rd.
            Pompano Beach, FL 33069


            Adache Group Architects, Inc.
            550 S. Federal Highway
            Fort Lauderdale, FL 33301


            All American Windows and Doors
            1534 SW 13th Ct
            Pompano Beach, FL 33069


            Allied Interior Products
            6363 Edgewater Drive
            Orlando, FL 32810


            ALX Construction Inc.
            8450 Johnston St.
            Hollywood, FL 33024


            Amquip Crane Rental LLC
            441 N Ruby Carson Blvd.
            Birmingham, AL 35215


            Aqua-Aston Hospitality
            2155 Kalakaua Ave
            #500
            Honolulu, HI 96815


            Associated Steel & Aluminum Ltd., Inc.
            3017 SW 25th Ave
            Pompano Beach, FL 33069


            Associated Steel & Aluminum Ltd., Inc.
            c/o Jason D. Katz, Esq.
            3325 S. University Dr, Ste 210
            Fort Lauderdale, FL 33328


            Atlass Hardware Corporation
            1923 SW 2nd St
            Pompano Beach, FL 33069


            Baker & Hostetler LLP
            PO Box 70189
            Cleveland, OH 44190
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        BE-TECH
        15835 Woodland Spring Ct.
        Orlando, FL 32828


        Best Rolling Doors, Inc.
        9780 NW 79th Ave.
        Hialeah, FL 33016


        Bobs Barricades Inc.
        921 Shotgun Rd
        Fort Lauderdale, FL 33326


        Bradley Weatherization Technology, Inc.
        15835 Woodland Spring Ct.
        Orlando, FL 32828


        Broward County Revenue Collection
        115 S. Andrews Ave. Rm A-100
        Ft. Lauderdale, FL 33301


        Buchanan Ingersoll PC
        One Oxford Centre
        301 Grant St., 20th Floor
        Pittsburgh, PA 15219


        Can-Am Electric, LLC
        3020 High Ridge Road
        Suite 200
        Boynton Beach, FL 33426


        CD Staffing
        1040 Bayview Dr.
        Suite 409
        Fort Lauderdale, FL 33304


        Central Broward Construction, Inc.
        931 NW 53rd Ct.
        Fort Lauderdale, FL 33309


        Central Broward Counstruction, Inc.
        c/o Christopher M. Horton, Esq.
        SmithCurrie
        101 NE 3rd Ave, Ste 1910
        Fort Lauderdale, FL 33301
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        Chicago Title Insurance Company
        3801 PGA Blvd.
        Suite 605
        Palm Beach Gardens, FL 33410


        Chuck's Backhoe Service
        2301 NW 15th Court
        Pompano Beach, FL 33069


        City of Aventura
        19200 W. Country Club Dr.
        Aventura, FL 33180


        City of Ft. Lauderdale- Tax Division
        700 NW 19 Ave
        Fort Lauderdale, FL 33311-7834


        Coastal Dune Restoration
        7611 Lawrence Rd.
        Boynton Beach, FL 33436


        Coastal Systems International, Inc.
        464 S. Dixie Highway
        Miami, FL 33146


        Constructors Bonding, Inc.
        7220 N 16th St.
        Building K
        Phoenix, AZ 85020


        D&A Studio Inc.
        4525 NW 37th Ave.
        Miami, FL 33142


        Dar Gennett
        4751 Gulf Shore Blvd. N
        #1406
        Naples, FL 34103


        DeRose Design Consultants, Inc.
        470 S. Andrews Ave
        Suite 206
        Pompano Beach, FL 33069
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        Draper & Associates
        5665 New Northside Drive
        #100
        Atlanta, GA 30328


        East Coast Hoist, Inc.
        105 Keystone Drive
        Telford, PA 18969


        Edwin M Green Inc.
        775 NW 21st Street
        Miami, FL 33127


        Encoders Inc.
        850 NW Federal Highway
        Suite 401
        Stuart, FL 34994


        Eugene Kessler
        c/o Paul S. Singerman, Esq.
        Berger Singerman
        1450 Brickell Ave., Ste 1900
        Miami, FL 33131


        Eugene Kessler
        19955 Porto Vita Way
        #3202
        Aventura, FL 33180


        Fata Automation, Inc.
        2333 Walton Blvd.
        Auburn Hills, MI 48326


        Fire Stop Systems Inc.
        4173 Arnold Ave
        Naples, FL 34104


        Firepak, Inc.
        8315 NW 74th St
        Miami, FL 33166


        Flax & Associates
        1900 Glades Rd.
        Suite 356
        Boca Raton, FL 33431
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        Florida Lifts LLC
        PO Box 740708
        Boynton Beach, FL 33474


        Florida Metro Construction Co., Inc.
        140 SW 1st Ave
        Dania, FL 33004


        Florida Overseas Investment Center
        6547 Midnight Pass Road, #3
        Sarasota, FL 34242


        Foam Supply Inc.
        1631 S. Dixie Highway
        Building B
        Pompano Beach, FL 33060


        FP&L
        General Mail Facility
        Miami, FL 33188


        General Caulking & Coatings Co Inc.
        3750 Consumer Street
        A
        West Palm Beach, FL 33404


        GeoSonics Inc.
        359 Northgate Drive
        Warrendale, PA 15086


        GFA International, Inc.
        1215 Wallace Drive
        Delray Beach, FL 33444


        Griffin Construction Services Corp, LLC
        3805 Investment Lane
        #1
        West Palm Beach, FL 33404


        H&E Equipment Services, Inc.
        7500 Pecue Lane
        Baton Rouge, LA 70809
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        Hall of Fame Associates
        801 NE 3rd St
        Dania, FL 33004


        HCC Surety Group
        8 Forest Park Dr.
        Farmington, CT 06032


        HJ Foundation Company
        8275 NW 80th Street
        Miami, FL 33166


        Internal Revenue Service
        PO Box 7346
        Philadelphia, PA 19101-7346


        International Warehouse Services, Inc.
        3400 McIntosh Road
        Building A
        Fort Lauderdale, FL 33316


        Jack Kessler
        c/o Paul S. Singerman, Esq.
        Berger Singerman LLP
        1450 Brickell Ave., Ste 1900
        Miami, FL 33131


        Jack Kessler
        19573 NE 37th Avenue
        Aventura, FL 33180


        Jaffer Well Drilling
        1451 SE 9th Ct.
        Hialeah, FL 33010


        JAG Construction
        PO Box 3805
        Bend, OR 97707


        JAWOF 515 Seabreeze, LLC
        c/o Niall T. McLachlan, Esq.
        Carlton Fields
        100 SE 2nd St, Suite 4000
        Miami, FL 33131
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        JAWOF 515 Seabreeze, LLC
        3835 NW Boca Raton Blvd
        Suite 200
        Boca Raton, FL 33431


        JB Matthews Company
        dba Overhead Doors
        11641 Interchange Circle S.
        Miramar, FL 33025


        Jefferson Davis
        1451 SE 9th Ct.
        Hialeah, FL 33010


        Jeffrey C. Schneider, Esq.
        Levine Kellogg
        201 S. Biscayne Blvd.
        22nd Floor
        Miami, FL 33131


        John Yoney
        19501 Biscayne Blvd.
        Suite 400
        Aventura, FL 33180


        Jovil Plumbing & Heating Inc.
        10271 NW 53rd St
        Fort Lauderdale, FL 33351


        Keith & Associates, Inc.
        301 E. Atlantic Blvd.
        Pompano Beach, FL 33060


        Kenneth Bernstein
        c/o Paul S. Singerman, Esq.
        Berger Singerman
        1450 Brickell Ave., Ste 1900
        Miami, FL 33131


        Kone Inc.
        3421 Enterprise Way
        Miramar, FL 33025
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        Landscape Design Workshop
        301 Yamato Rd.
        #1240
        Boca Raton, FL 33431


        Las Olas Group II, L.P.
        19501 Biscayne Blvd
        Suite 400
        Aventura, FL 33180


        Las Olas Ocean Resort Partners, LP
        Damon Virtuoso, Manager of
        General Partner
        682 Heritage Drive
        Fort Lauderdale, FL 33326


        Las Olas Ocean Resort Partners, LP
        Glen H. Waldman, Esq.
        Waldman Barnett
        3250 Mary St., Suite 102
        Coconut Grove, FL 33133


        Luke's Landscaping
        2711 SW 36th St
        Fort Lauderdale, FL 33312


        Marjam Supply of Florida LLC
        885 Conklin St.
        Farmingdale, NY 11735


        Marsh Risk Consulting
        Attn: Joseph M. Stella
        99 High Street
        Boston, MA 02110


        Master Plaster, Inc.
        2116 N. Dixie Highway
        Hollywood, FL 33020


        Master Plaster, Inc.
        c/o Michael J. Kurzman, Esq.
        Weiss Serota
        200 E. Broward Blvd., Ste 1900
        Fort Lauderdale, FL 33301
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        Matthew Sava, Esq.
        Reid & Wise LLC
        One Penn Plaza, Suite 2015
        New York, NY 10119


        Maxim Crane Works, L.P.
        1225 Washington Pike
        Suite 100
        Bridgeville, PA 15017


        Maxim Crane Works, L.P.
        c/o April Rocke, Esq.
        Kirwin Norris, P.A.
        15 Church St., Ste 301
        Orlando, FL 32806


        McLaughlin Engineering Company
        400 NE 3rd Ave
        Fort Lauderdale, FL 33301


        Miami-Dade County Tax Collector
        140 West Flagler Street
        Room 101
        Miami, FL 33130


        Michael Jara-Vazquez
        776 N Orange Ave.
        #5416
        Orlando, FL 32801


        Miele, Inc.
        9 Independence Way
        Princeton, NJ 08540


        MIK Construction LLC
        933 NW 36th St
        Fort Lauderdale, FL 33309


        N1 Critical Technologies, Inc.
        2949 Venture Dr.
        Suite 108
        Janesville, WI 53546
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        National Construction Cleaners Group LLC
        931 Willage Blvd.
        Suite 905-528
        West Palm Beach, FL 33409


        Nationwide Fire Sprinklers Inc.
        6754 NW 72nd Ave
        Miami, FL 33166


        O'Brien Air Conditioning
        2020 NE 28th Ave
        Pompano Beach, FL 33062


        Ocean Star of Miami
        20917 SW 103rd Place
        Miami, FL 33189


        Painting Concepts, Inc.
        3459 High Ridge Rd.
        Boynton Beach, FL 33426


        Plumbing Corporation of America
        5218 NE 12th Ave
        Fort Lauderdale, FL 33334


        PPG Paint Services
        One PPG Place
        Pittsburgh, PA 15272


        Preferred Hotel Group, Inc.
        38999 Eagle Way
        Chicago, IL 60678


        Raymond Parello
        c/o Paul S. Singerman, Esq.
        Berger Singerman
        1450 Brickell Ave., Ste 1900
        Miami, FL 33131


        Royce Parking Control Systems, Inc.
        3883 Pembroke Rd.
        Hollywood, FL 33021
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        S&S National Waste
        1050 Skees Road
        West Palm Beach, FL 33411


        Safway Services, LLC
        2365 Ali Baba Avenue
        Opa Locka, FL 33054


        Samy Cohen
        19501 Biscayne Blvd.
        Suite 400
        Aventura, FL 33180


        Saul Ewing Arnstein & Lehr LLP
        161 N. Clark
        Suite 4200
        Chicago, IL 60601


        Service America
        2755 NW 63rd Ct
        Fort Lauderdale, FL 33309


        Shenandoah Construction
        1888 NW 22nd St
        Pompano Beach, FL 33069


        Sims Crane
        1219 N. Highway 301
        Tampa, FL 33619


        Snaidero USA
        20300 S Bermont Ave
        Suite 125
        Torrance, CA 90502


        Solution Construction, Inc.
        7955 NW 12th St
        Suite 425
        Miami, FL 33126


        South East Spas
        2840 Okeechobee Blvd.
        West Palm Beach, FL 33409
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        Southeastern Services & Equipment, Inc.
        569 Canal St.
        New Smyrna Beach, FL 32168


        State Of Florida Department Of Revenue
        Po Box 6668
        Tallahassee, FL 32314


        Sterling Steel Fabrications Inc.
        1139 53rd Ct N
        West Palm Beach, FL 33407


        Straticon, LLC
        451 SW Federal Highway
        Stuart, FL 34994


        Straticon, LLC
        c/o Charles B. Hernicz, Esq.
        Hernicz Legal Services, P.L.
        1460 Wood Row Way
        Wellington, FL 33414


        Sun Metal Systems, Inc.
        5008 Tampa West Blvd.
        Tampa, FL 33634


        Sunbelt Rentals, Inc.
        PO Box 409211
        Atlanta, GA 30384-9211


        Sunryse Construction Services, Inc.
        3061 SE Waaler St.
        Stuart, FL 34997


        Temco Staffing LLC
        401 E. Las Olas Blvd.
        Suite 1400
        Fort Lauderdale, FL 33301


        Terracon
        5371 NW 33rd Ave
        #201
        Fort Lauderdale, FL 33309
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        Tetra Tech, Inc.
        3475 E. Foothill Blvd.
        Pasadena, CA 91107


        The Bancorp Bank
        1818 Market Street
        28th Floor
        Philadelphia, PA 19103


        The Bancorp Bank
        Mark J. Wolfson, Esq.
        Foley & Lardner LLP
        100 N. Tampa St., Suite 2700
        Tampa, FL 33602


        Therma Seal Roof Systems, LLC
        1421 Oglethorpe Road
        West Palm Beach, FL 33405


        Titus Construction Group
        401 E. Las Olas Blvd.
        Suite 1400
        Fort Lauderdale, FL 33301


        Trident Ground Protection LLC
        1033 NW 6th St
        Fort Lauderdale, FL 33311


        Trojan Labor aka Hire Quest
        12137 NW 7th Ave
        Miami, FL 33168


        United Forming, Inc.
        470 Riverside Parkway
        Austell, GA 30168


        United Forming, Inc.
        c/o Jake Carroll, Esq.
        Freeman Mathis & Gary, LLP
        100 Galleria Pkwy, Ste 1600
        Atlanta, GA 30339


        United Site Services
        118 Flanders Rd.
        Westborough, MA 01581
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        Vitra Garcia
        19501 Biscayne Blvd.
        Suite 400
        Aventura, FL 33180


        Wilkinson Hi-Rise
        3001 Greene St.
        Hollywood, FL 33020


        Xpert Elevator Services Inc.
        550 Business Park Way
        Bay #8
        West Palm Beach, FL 33411


        ZRoofing Inc.
        2525 West 3rd Ct.
        Hialeah, FL 33010
